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EXHIBIT I

The Commonwealth of Massachusetts
Executive Office of Health and Human Services
Department of Public Health
Bureau of Health Care Safety and Quality
Division of Health Care Facility Licensure and Certification
67 Forest Street, Marlborough, MA 01752

MAURA T. HEALEY KATHLEEN E. WALSH
Governor Secretary
KIMBERLEY DRISCOLL
Lieutenant Governor ROBERT GOLDSTEIN, MD, PhD
Commissioner

Tel: 617-624-6000
wwrw.mass.govidph

February 29, 2024
Nancy Jamgochian
Administrator
A Woman's Concern and Your Options Medica!
103 Broadway
Revere, MA, 02151
Dear Ms. Jamgochian:

On February 19, 2024, we conducted a desk audit follow-up review to verify that your facility
had achieved and maintained compliance.

The findings indicate that all deficiencies have been corrected.

You are reminded that facilities are obligated to correct all deficiencies and then remain in
compliance.

An unannounced visit may be conducted at any time at the discretion of the MA Department of
Public Health Licensure Unit.

Sincerely,
Judie Crocker -Wilsow

Julie Crocker-Wilson
Licensure Inspections Manager

Enclosures (2)

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State Department of Public Health warns anti-abortion centers against using deceptive tactics | GBH 8/19/24, 12:39PM

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State Department of Public
Health warns anti-abortion

centers against using deceptive
tactics

sHaRE Ba f X

A Spanish-language sign offering help for unplanned pregnancies is posted by the door of Problem
Pregnancy, an anti-abortion pregnancy center, in Worcester, Mass., on Sept. 13, 2023.
Azita Ghahramani / GBH News

https://fwww.wgbh.org/news/2024 -01-05/state-department-of-public-health-warns-anti-abortion-centers-against-using-deceplive-tactics Page 1of 8
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State Department of Public Health warns anti-abortion centers against using deceptive tactics | GBH 8/19/24, 12:39 PM

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By Sam Turken
January 05, 2024

The Massachusetts Department of Public Health is warning that it will not tolerate

any anti-abortion centers using deceptive practices that infringe on people’s
reproductive healthcare access.

The facilities, known as “crisis pregnancy centers,” advertise free services and
counseling for women with unplanned pregnancies. But in wake of the Supreme
Court’s decision overturning Roe v. Wade in 2022, abortion rights advocates have

increasingly accused the centers of using misleading advertising tactics to steer
people away from abortion.

DPH says there are nearly 30 anti-abortion centers operating in Massachusetts.
After receiving complaints about some of the centers, the department wants to
ensure the facilities are operating transparently. If they’re not, they could lose their
clinical licenses and face state investigation.

DPH sent a memo this week to all licensed Massachusetts physicians and clinics,

including anti-abortion centers, reminding them of their obligations under state
law.

“There are consequences to the use of deceptive tactics in the state of
Massachusetts,” DPH Commissioner Robert Goldstein told GBH News. “We at the

Department of Public Health have a responsibility to promote and protect health, to
ensure high quality care for people across the Commonwealth.”

MORE LOCAL NEWS

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Worcester City Council votes against
regulating anti-abortion clinics

Small increase in out-of-state travelers
for Mass. abortions in 2022, new data
shows

Fraught push to regulate anti-abortion
pregnancy centers in Massachusetts

According to the abortion rights organization Reproductive Equity Now , the
centers outnumber abortion clinics like Planned Parenthood more than 2 to 1 in
Massachusetts. Many of the centers are affiliated with national advocacy or religious
organizations that provide funding and support to promote an anti-abortion agenda.

DPH says many of the anti-abortion facilities deceptively present themselves as full-
service reproductive health care clinics but do not provide abortion care, referrals,
contraception or other reproductive health care services. Other centers do provide
abortion services but may not be in compliance with state requirements of medical
care.

In both cases, DPH stressed the state has the authority to investigate wrongdoing.
The department wil! collaborate with the state attorney general’s Reproductive
Justice Unit, which can pursue civil or criminal charges against facilities that
deceive people seeking comprehensive reproductive healthcare services.

“Anti-abortion centers pose a serious threat to pregnant people seeking unbiased
reproductive health care in Massachusetts,” said Rebecca Hart Holder, president of
Reproductive Equity Now. “I do really want to thank Commissioner Goldstein for his
bold leadership and really look forward to continuing our work together to combat
these centers.”

In response to DPH’s warning, advocates and leaders of anti-abortion centers called
the accusations misinformation and said the facilities help thousands of people

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State Department of Public Health warns anti-abortion centers against using deceptive tactics | GBH 8/19/24, 12:39 PM

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around Massachusetts every year.

“Pregnancy resource centers offer women choices,’ said Myrna Maloney Flynn,
president and CEO of Massachusetts Citizens for Life. “Pregnancy resource centers
will communicate to women all of their options when they are faced with an
unplanned pregnancy.”

» Sam Turken xX

Sam Turken is the Worcester reporter for GBH News, covering housing, the environment and other
social justice and economic issues. Feedback? Questions? Story ideas? Reach out to Sam at
sam_turken@wgbh.org.

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Maintaining Integrity, Accessibility, and Transparency in Reproductive Care | Mass gov 8/19/24, 12:40PM

EXHIBIT K

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NEWS

Maintaining Integrity, Accessibility, and Transparency in Re}
Care

Vioa2024 Department of Public Health

The Department of Public Health (DPH) is committed to comprehensive reproductive health care access. In the wake of recent
complaints regarding several anti-abortion centers, OPH has initiated a review of its statutory and regulatory obligations. The
purpose of this review is to make sure OPH professional licensees and facility licensees = including these centers - are adhering
to their designated scope of practice and operating transparently and free from deceptive practices.

Our goal is to strengthen the integrity of the health care system in the state and foster an environment of trust and
compassion for those whe are navigating the many options available to them at a challenging and time-sensitive point in their
lives.

DPH jurisdiction over anti-abortion centers

Anti-abortion centers - often called “crisis pregnancy centers” - provide information and counseling to individuals who are, or
may be, pregnant. Some provide testing for sexually transmitted infections, pregnancy tests, and ultrasounds to determine
how far along a pregnancy may be. Many of these centers advertise themselves as full-service reproductive health care clinics,
yet they do not provide abortion care or abortion referrals, contraception, or other important reproductive health care services.
Most centers are affiliated with national advocacy or religious organizations that provide funding and support to advance an
anti-abortion agenda.

In Massachusetts, there are nearly 30 anti-abortion centers that operate in the state, with only four currently subject to DPH
licensure under state law.

* Licensed clinics must comply with the requirements and standards of medical care and services associated with this
certification.

* Licensed clinics usually are staffed with full- or part-time medical providers that may include physicians, nurses, nurse
practitioners, or physician assistants,

® These licensed facilities may provide medical services, including testing and ultrasound, as long as the service delivered is
within the scope of practice for the involved provider.

= The clinicians in licensed centers bear a responsibility to adbere to all license requirements and meet the professional
standards to ensure the well-being of those seeking care and support.

Most centers in Massachusetts, however, are not licensed as “clinics.” These non-licensed centers are largely staffed by
nonmedical individuals or volunteers. Absent the provision of medical care, OPH does not have jurisdiction over these facilities

and cannot oversee the quality of services they provide.

However, if these facilities are providing medical care or advertising services that are consistent with a clinic, DPH maintains a

httpsi/www,.mass, gov/news/maintaining-integrity-accessibility-and-transparency-in-reproductive-care Page 1 of 3
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responsibility to oversee the safe provision of AL BLT, Ke OPH may be involved in

investigating complaints regarding allegations about provision of inappropriate medical services or staff members performing
services without the required credentials. This work may be done in collaboration with the Attorney General's Office's
Reproductive Justice Unit,

DPH guidance

Guidance for Massachuseus licensed physicians, physician assistants, nurses, pharmacists, pharmacies, hospitals, and
clinics: Reminder to Licensees Regarding Licensure Obligations and Providing Standard of Care

PDF (docfreminder-to-licensees-regarding-licensure-obkgations-and-providing-standard-of-care-pdfvdownload) |

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Filing complaints

The Department of Public Health actively seeks feedback and complaints from individuals who have had concerning
experiences with anti-abortion centers as well as from other stakeholders who have information about questionable
practices, Complaints about staff can be filed with:

Board of Registration in Medicine (info-details‘submit-a-complaint-against-a-physician) for physician concerns

* Board of Registration in Nursing (:board-of-registration-in-nursing-complaint-pracess) for nurse Concerns

Board of Registration of Physician Assistants (/orgs/board-of-registration-of physician-assistants] for physician assistant concerns

Office of the Attorney General (/now-torfile-a-civil-rights-complain) for concerns about potential deceptive practices or
misleading information that affects consumers

Educational efforts

In addition to DPH's work on the licensing and regulatory aspects of these anti-abortion centers, the Department is also
focused on educating the public about the differences between facilities that provide comprehensive reproductive care and
those that practice deceptive Lactics to limit people's choices and prevent abortions. DPH will increase its efforts to educate the
public through a multi-faceted awareness campaign in 2024.

Department of Public Health

OPH keeps people healthy and communities strang. We promote the health and well-being of all residents by ensuring
access to high-quality public health and health care services, focusing on prevention and wellness, and health equity for
all.

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EXHIBIT L

The Commonwealth of Massachusetts
Executive Office of Health and Human Services
Department of Public Health
250 Washington Street, Boston, MA 02108-4619

MAURA T, HEALEY KATHLEEN E. WALSH
Governor Secretary
KIMBERLEY DRISCOLL ROBERT GOLDSTEIN, MD, PhD

Lieutenant Governor Commissioner

Tel: 647-624-6000
www.imass.govidph

To: Massachusetts licensed physicians, physician assistants, nurses, pharmacists, pharmacies,
hospitals, and clinics

From: Robert Goldstein, MD, PhD, Commissioner, Department of Public Health

Date: January 3, 2024

Subject: Reminder to Licensees Regarding Licensure Obligations and Providing Standard of Care

The Department of Public Health takes patients’ rights and the provision of high quality, evidence-
based, safe care by all providers very seriously. This includes providing patients accurate and
complete information for informed decision-making, accurate portrayal and advertising of
clinical services, and licensees practicing within their scope of practice and their license, The
Department issues this memorandum to outline and remind licensees of their obligations under
state law and as a condition of licensure.

Clinic Licensure Requirements

Massachusetts law requires that clinics be licensed by the Department of Public Health (DPH).
(See M.G.L. c. 111, § 51.) A clinic ts any entity, however organized, whether conducted for profit
or not for profit, that is advertised, announced, established, or maintained for the purpose of
providing ambulatory medical, surgical, dental, physical rehabilitation, or mental health services.
However, the law provides an exception from licensure requirements under this section for any
entity that is wholly owned and controlled by one or more of its medical practitioners and does not
use the word "clinic," “institute” or “dispensary” in its name. (See M.G.L. c. 111, § 52 for the
definition of "clinic.") Thus, any entity that provides ambulatory medical services is subject to

clinic licensure if it is not wholly owned and controlled by one or more of its practitioners.

Ambulatory medical services are services providing diagnosis or treatment of a health condition
and include procedures such as diagnosing pregnancies, performing ultrasounds and other clinical
procedures. Any entity that offers ambulatory medical services, including said procedures, is
subject to clinic licensure and must meet the requirements of 105 CMR 140.000, unless
otherwise exempt.
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Additionally, any clinic providing medical services must meet the requirements of 105 CMR
140.000, including specific requirements related to staffing.

Failure to adhere to the staffing requirements of 105 CMR 140.000 could not only jeopardize
a clinic license through administrative action including licensure suspension or revocation?,
but may also result in the referral of licensed providers deemed out of compliance to the
appropriate licensing board.

Entities and individuals may be referred to the Attorney General’s Office by DPH for

prosecution of deceptive practices by holding the entity out as a clinic, or performing
unlicensed medical services.

Massachusetts Controlled Substances Registration (MCSR) Requirements

All practitioners and entities must comply with controlled substance requirements in M.G.L. c.
94C, as implemented by 105 CMR 700.000, regardless of whether the entity is licensed as a clinic
or owned and operated by one or more practitioners. A MCSR is required for any practitioner or

entity to purchase, store, or dispense any contro!led substance, which includes any prescription
medication in Massachusetts.

Licensed Healthcare Professionals

The Board of Registration in Medicine (BORIM) and the Boards of Registration within the Bureau
of Health Professions Licensure (BHPL) at the Department of Public Health regulate and oversee
individual healthcare practitioners, including physicians, nurses, and physician assistants.

All healthcare practitioners in Massachusetts are subject to professional discipline for the failure

to comply with recognized standards of practice and for engaging in conduct that is dishonest or
deceitful.

1. Licensed healthcare professionals must comply with recognized standards of practice.

Nurses are required to comply with recognized standards of nursing practice and to act within the
scope of practice for nurses.?

Board of Registration in Nursing (BORN) regulations require that a nurse shall perform nursing
techniques and procedures, including but not limited to providing ultrasounds, only after
appropriate education and demonstrated clinical competency.‘ In other words, a nurse is
prohibited from using any technique or procedure if they have not received appropriate education

1105 CMR 140.310 through 105 CMR140.334
2105 CMR 140.130 through 105 CMR 140.134

3244 CMR 7.03(1)(i); 244 CMR 9.03(5); 244 CMR 9.03(47); 244 CMR 7.03(1)(h); 244 CMR 9.03(10).
4244 CMR 9.03(11) & (12)
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and demonstrated clinica] competency. Nurses are responsible and accountable for their nursing
actions, judgments, and competencies.°

Physicians and Advanced Practice Registered Nurses (APRN) who practice in violation of good
and accepted health care practice may be disciplined for conduct which places into question their
competence to practice.© For example, there is strong evidence that medication abortion reversal
is unproven, unethical, and unsafe to provide to patients’; such that a physician or APRN who
offers or provides this treatment could be found to be practicing inconsistently with accepted
practice and subject to discipline.

Similarly, physician assistants (PAs) must act within the scope of practice for PAs, 263 CMR
5.09(4), and may only assume duties and responsibilities within their scope of practice and for
which they have acquired and maintained necessary knowledge, skills, and abilities.®

Failure to comply with recognized standards of practice is grounds for professional
discipline, up to and including license revocation.

2. Licensed healthcare professionals, including physicians, nurses, and_ physician
assistants, may not engage in deceitful conduct or any conduct that poses a risk to public
health, safety, or welfare.

Physicians may not practice medicine deceitfully or engage in conduct which has the capacity to
deceive or defraud.? They also may not advertise in a manner that is false, deceptive, or
misleading, or that has the effect of intimidating or exerting undue pressure.'® Nor may they
engage in conduct that undermines public confidence in the integrity of the medical profession,
even where the physician may not have engaged in wrongdoing or deceit.'!

These principles have been specifically applied to advertising and communications concerning the
qualifications and licensure of an unlicensed individual providing services in the same location as
the physician. For example, advertising or communications that suggest interpretation of
ultrasound results is being performed by a licensed and qualified provider, when the person
interpreting the results is not licensed or qualified would constitute false, deceptive, and misleading
practice. Additionally, licensed individuals practicing in the setting where any such service is
provided undermines the public confidence. Conduct or advertising which is objectively

5 244 CMR 9.03(9).

6 For physicians see 243 CMR 1.03(5){a); for APRNs, the standards of care to which nurses in
advanced practice shall be held, shall be those standards which protect consumers, and provide them
with safe and comprehensive care, and shall be standards comparable to other professionals,
including physicians, providing the same services. MGL c. 112 §80B.

7 See American College of Obstetricians and Gynecologists advocacy stance regarding medication
abortion “reversals”: Medication Abortion "Reversal" Is Not Supported by Science | ACOWG

§ 263 CMR 5.09(5).

§ 243 CMR 1.03(5)(a)10

10 243 CMR 2.07(11){a}.

1 Welter v. Board of Registration in Medicine, 490 Mass 718, 725, 196 N.E.3d 312, 320 (2022), cert.
denied sub nom. Welter v. Massachusetts Bd. of Registration in Med., 143 8. Ct. 2561 (2023).

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deceptive, even if technically accurate, is prohibited and may be the basis for discipline,

irrespective of whether the physician had an intent to deceive or whether anyone was subjectively
deceived'?,

BORN regulations also prohibit a nurse from engaging in any fraudulent conduct, and any conduct
likely to have an adverse effect on health, safety, or welfare of the public.!* Any conduct that
undermines public confidence in the integrity of the profession is grounds for discipline of a
nursing or physician assistant license. '*

The BORN and Board of Registration of Physician Assistants (BORPA) regulations further
prohibit nurses and PAs from exercising undue influence on a patient, including the promotion or

sale of services, goods, appliances, or drugs, in such a manner as to exploit the patient for financial
gain of the nurse or a third party.

A nurse or physician assistant may not engage in any behavior that is likely to have an adverse
effect on the health, safety, or welfare of the public.'> '®

A nurse or physician assistant shall not knowingly falsify, or attempt to falsify, any documentation
or information related to any aspect of their practice or delivery of medical services. '

Finally, the regulations explicitly prohibit nurses and PAs from engaging in false, deceptive, or
misleading advertising or any other fraudulent practice. '*

Based on the foregoing, any conduct or communication by a physician, nurse, or PA that is
misleading or inaccurate would be a violation of regulations governing practice of the profession
and may be grounds for discipline which could include but may not be limited to reprimand,
probation, suspension, or revocation of the individual’s license to practice.

All services performed by a physician assistant must be supervised by a licensed physician and the
services must be: (1) within the competence of the PA, as determined by the supervising physician;
and (2) within the scope of services for which the supervising physician can provide adequate
supervision.'? Moreover, the supervising physician must provide supervision adequate to ensure
the PA practices medicine in accordance with accepted standards of medical practice. °

12 Welter, supra, at 490 Mass, 726-728.

13 244 CMR 9.03 (32), 244 CMR 7.03(1)(w); 244 CMR 9.03(47)}.

M244 CMR 7.03(1)(x); 263 CMR 6.02(2)(x).

15 944 CMR 9.03(47); 263 CMR 6.03(2}(w).

1615 See American College of Obstetricians and Gynecologists advocacy stance regarding medication
abortion “reversals”: Medication Abortion "Reversal" Is Not Supported by Science | ACOG

17 244 CMR 9.03(31); 263 CMR 5.09(8).

18 244 CMR 9,03(32); 263 CMR 5.0921) & (22).

'9 963 CMR 5.03.

©2363 CMR 5.04.

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EXHIBIT L

3. Licensed _healthcare_professionals, including physicians, nurses, and_ physician
assistants, are required to comply with the law.

Failure of physicians, nurses, and PAs to comply with all laws, regulations, advisory rulings, and
policies of their respective licensing board are subject to discipline. *'

Similarly, nurses and PAs may not aid another person in performing any act prohibited by laws or
regulation’.

4. Advanced Practice Registered Nurses

Nurses authorized to practice in the advanced role must adhere to their scope of practice. 244
CMR 4.06; 244 CMR 9.04 (1). APRNs must also fully disclose, when proposing any diagnostic
or therapeutic intervention which is beyond the scope of generic nursing practice, to the patient or
to the patient’s representative the risks and benefits of, and alternatives to, such intervention and
shall document such disclosure in the patient’s record. 244 CMR 9.04 (5).

APRNs who provide abortion services must comply with Advisory Ruling 21-02 Certified Nurse

Midwives and Certified Nurse Practitioners as Providers of Abortions for Pregnancies of Less than
24 Weeks.

§. Responsibility concerning activities of unlicensed individuals.

BORIM addresses physician responsibility for activities of unlicensed individuals in several ways.
First, physicians may not knowingly permit, aid, or abet an unlicensed person to perform activities
requiring a license.” In addition, physicians may not delegate medical services to an individual
who is not licensed to perform those services in Massachusetts.747 Medical services requiring
licensure are services which fall within the definition of the practice of medicine, which may only
be performed by licensed physicians, and other licensed health care professionals to the extent that
the services also fall within the scope of practice of the license held.*? Such services include
diagnosis, treatment, use of instruments or other devices, or the prescribing, administering,
dispensing, or distributing of drugs for the relief of diseases or adverse physical or mental
conditions.”® It also includes conduct by an individual that encourages reliance by others on the
individual’s knowledge or skill in the maintenance of human health. Id. For example, BORIM
has imposed discipline on a physician who authored ultrasound reports on the basis of sonographer
impressions in lieu of personally reviewing images.

71243 CMR 1.03(5)(a)2. and 11; 244 CMR 7.03{1}(a), (b), (e); 263 CMR 6.03(2)(a), (b}, (e).
22: 244 CMR 9.03(7); 263 CMR 5.09(24).

3.243 CMR 1.03(5}a)6
+4243 CMR 2.07(4).
5 See 243 CMR 2.01(4)
*6 243 CMR 2.01(4)
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Additionally, 244 CMR 3.00 sets forth the responsibilities and functions of nurses and states
requirements for delegation of nursing activities to unlicensed persons.

Conclusion
The Department expects the attention and cooperation of all licensees in providing accurate patient

education, delivering safe and quality patient care, and adhering to professional standards under
state licensure and the rights of all Massachusetts patients.
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EXHIBIT M

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Sexual and Reproductive Health Services y bared rep heal ey

Avoid Anti-Abortion Centers

Anti-abortion centers, often called “crisis pregnancy centers", look like medical facilities but don’t offer comprehensive care,
Some may not offer any medical care. They may mislead you about your options if you're pregnant and can put your health
at rigk,

Get care you can trust

Abortion is safe, legal, and accessible in Massachusetts.
Find reproductive health care, Including abortion care, you can trust.

https://www.mass.gov/avoid-anti-abortion-centers Page lof 3
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Avoid Anti-Abortion Centers | Mass.gov BE x HIBI I 1 N 8/8/24, 10:53 AM

Have you been harmed by an anti-abortion center?

{f you have been to an anti-abortion center, or “crisis pregnancy center,” and have concerns about your experience, learn how you can file a civ

Additional resources

isrhp-all-of-you}
Find comprehensive
sexual and
reproductive health
services

Looking for a provider for birth
control, STI/STD testing and
treatment, or other services? Want
to learn about your options if
you're pregnant? Learn about
providers and services near you

(/accessing-abortion-care-in-massachusetts} (info-details/information-about-anti-
Abortion protections in For health care
Massachusetts providers

Learn about your rights to FO Learn what
Y access a safe abortion, get help you can do as
t : d paying for care, and find other a provider to
“G resources. raise
awareness of
anti-abortion
centers and
connect
patients to
trusted care,

View the anti-abortion center awareness campaign social media toolkit (/ifo-detailstant-aborton-center-awareness-campaign-social-media-tool

https:/fwww.mass.govfavoid-anti-abortion-centers Page 2 of 3
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All Topics vtopicsrmassachusetts-topics) Site Policies wmassgov-site-policies) Public Records Requests (/topics/public-records-requests)

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httpsi/www.mass govjavoid-anti-abortion-centers Page 3 of 3
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Anti-Abortion Center Awareness Campaign: Social Media Toolk ROP PLP | \ O 8/8/24, 10:58 AM

U Mass.gov Search Mass.gov

eo > Executive Office of Health and Human Services (orquecrcuive-ofe-of-heakh-and-Auman-wrncens > Sexual and Reproductive Health Services iiecuatacdiepmaucive nen sence] > Avoid Anti-Abertion Cente

Anti-Abortion Center Awareness Campaign: Social Media To:
(English)

Raise awareness about anti-abortion centers through social media, email, or other digital platforms.

Download sample posts and images to share information about the harms of anti-abortion centers and where to find
trusted sexual and reproductive health care.

Sample posts (#sample-posti-)

Graphics for social media (#graphics-for-social-media-]

Fact sheets and posters j#iact-sheets-and.posters-
Videos (evideos-)

Sample posts

The language below can be used to raise awareness on social media sites like Twitter, Instagram, and Faceback, or other digital communications.
Tip: Always include the web link mass.gov/GetTrustedCare /Geitruaredtare},

For all audiences

Anti-abortion centers - often called “erisis preqnancy centers” - may look like medical facilities but they don't offer comprehensive reproductive health car
get trusted care instead, Learn more: mass,gov/GetTrustedCare iicertnustedCare}

Anti-abortian centers may look like medical facilities but could put your health at risk if you're pregnant. Learn how to spot them at mass.gov/GetTrusted

There are more than 30 anti-abortion centers in Massachusetts, These facilities may cause harm to individuals looking for pregnancy or abortion care. Le:
mass.qov/GetTrustedCare /GortnsitecCare).

Abortion is safe, legal, and accessible in Massachusetts. Anti-abortion centers, which can look like medical facilities, may mislead pregnant individuals abc
abortion care. Learn more at mass.gov/GetTrustedCare /Gettrused( are}

Anti-abortion centers often advertise abortion care, but don't provide abortions, counseling on a full range of options, or referrals to providers who do. Le
mass.gov/GetTrustedCare UGetTrustedCare).

For people seeking reproductive health care

Pregnant? Looking for information on your options? Avoid anti-abortion centers. They may mislead you or delay your care. Find care that you can trust:
mass.gov/GetTrustedCare (/GetinusiedCare)

If you're looking for comprehensive reproductive health care, avoid anti-abortion centers. These facilities - often called “crisis pregnancy centers” - could
at mass.gov/GetTrustedCare (GerTrustedCare).

Avoid anti-abortion centers. Even if you're not looking for abortion care, these facilities are not a safe or trusted place to go for reproductive health care. |

hitps:/iwww.mass.govjinfo-details/anti-abortion-center-awareness-campaign-social-media-toolkit-english Page 1 of 6
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Anti-Abortion Center Awareness Campaign: Social Media Toni OM PEF PST! 1 O 8/8/24, 10:58 AM

mass.gov/GetTrustedCare (/GerTrustenCare).

* Abortion is safe, legal, and accessible in Massachusetts, Avoid anti-abortion centers, which may look like medical facilities but don't offer comprehensive «
trusted care: muants,gov/GetTrustedCare (/GerlrusedCare).

* you've been to an anti-abortion center (facilities chat are often called “crisis pregnancy centers”) and had a concerning experience, you can file a compla
at mass.gov/GetTrustedCare (/GerlrustedCare).

Customizable

® Avoid anti-abortion centers and get care you can trust at [X). Anti-abortion centers may look like medical facilities but can put your health at risk. Learn m
mass.gov/GetTrustedCare (farttrustedt aret.

® 4 provides [name reproductive health services, including referral options). Avoid anti-abortion centers and visit us to get care you can trust. Learn abt
mass.gov/GetTrustedCare jicettnustedtare),

Graphics for social media

Share graphics with your network, sized for horizontal, square, or vertical posts.

Horizontal

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Anti-Abortion
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Anti-Abortion Center Awareness Campaign: Social Media Too it FPN PPT PS |’ 1 O 8/8/24, 10:58AM

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Anti-Abortion Center Awareness Campaign: Social Media Toolkit FA EET PD l 1 O 8/8/24, 10:58 AM

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Anti-Abortion Center Awareness Campaign: Social Media Toolkit EN PPT PS | [ ' O

Fact sheets and posters

Print or download a fact sheet or poster that features a QR code for quick scanning.

Anti-Abortion

AVO l Centers

What You Need to Know

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Download poster: Anti-abortion centers can put
your health at risk
PDF

Antl-Abortion

AVO i Centers

What are anti-abortion centers?
Anti-abortion centers, often called “crisis
Pregnancy conters,” may look like medica
clinics but don't offer comprehensive
reproductive health care.

Some ac abartian i but they
do not provide abortion care or referrals to
abortion providers.

Anti-abortian centers may mislead pregnant
People about their optians, dalay thelr care,
and can put thelr heatth at risk.

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Find trusted reproductive @
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AVOID

Anti-Abortion
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Videos

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*  $hare this 30-second video: Avoid anti-abortion centers. Get care you can trust. | YouTube iheps./youru.be/pCiQG7eesi8?si-Op7CniePpMTWISnr)

* Share shorter 15-second videos: YouTube playlist of videos related to anti-abortion center awareness (hups/youtube.comy/playlist?list-PLS4iknIBH64ADSxDYQh_p2

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About Anti-Abortion Centers — Reproductive Equity Now E xX HIB!’ I 1 P 8/19/24, 12:53 PM

REPRODUCTIVE About State Work Legislative Agendas @
wus «= EQUITY NOW Electoral Work Resources Media Get Involved
English
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® ®

. What Are Anti-Abortion Cent

2
Anti-abortion centers, or so-called "crisis pregnancy centers,” are facilities that present
themselves as resources for people facing unplanned pregnancies, but in reality, exist to

3. dissuade people from accessing abortion care.
These centers use deceptive practices to attract patients: they are often deliberately located

4 near reproductive health clinics, they create websites that appear in online searches for

: legitimate abortion clinics, and they advertise online and in print media in ways that might

appeal to those who are considering abortion.

5.

é Anti-abortion centers are typically managed and funded by organizations that oppose

: abortion in any and all circumstances. They often use disinformation as a way to dissuade

people from accessing abortion care. As a result, a person with an unintended pregnancy
seeking full options counseling or abortion referrals should be aware of the existence of
such biased facilities.

.

= More About Anti-Abortion Centers:

While these facilities may offer free pregnancy testing, they are purposefully vague
about whether they provide abortion care. Some may be licensed to provide medical
care; even so, they exist to dissuade people from receiving abortion care. They may not
have any medical professionals available to speak with their clients. They tend to
“counsel” a pregnant person by engaging in a lengthy discussion about fetal
development, providing disinformation about the alleged "dangers" of abortion (see
“Busting the Myths” here), and pressuring the individual to choose parenthood or
adoption,

In New England, anti-abortion centers outnumber legitimate abortion providers more
than 2:1. It is important to ensure that when you pursue abortion care, you double
check that you are being treated by a legitimate provider, as anti-abortion centers can
delay care.

List of Anti-Abortion Centers in New England:

hittps:/freproequitynow.org/about-antiabortion-centers#:~:text=List%200f%20Anti%2DAbortion%20Centers%20in%20New %20England%3A Page Tol §
Case 1:24-cv-12131-LTS Document1-4 Filed 08/19/24 Page 31 of 34

About Anti-Abortion Centers — Reproductive Equity Now E x HIBI' J 1 P 8/19/24, 12°53 PM

Massachusetts
New Hampshire
Connecticut
Rhode Island
Vermont

Maine

info@reproequitynow.org

How can you tell if a facility offers unbiased counseling and abortion services or
referrals?

@ Check its website for statements about whether or not it provides abortion
referrals. Often, disclosure that the anti-abortion center does net provide
abortion care or referrals is buried deep inits website

* Ask directly if it offers full options counseling, abortion referrals, or abortion
care. Often, anti-abortion centers will ask patients to come into the facility
before they disclose whether or not they offer abortion.

«* Determine if the facility is hesitant to give referrals for abortion care either on
the phone or in person.

Anti-Abortion Centers Logos & Organizations:

e Many anti-abortion centers are associated with large, national anti-abortion
organizations, like Heartbeat International, Birthright International, Care Net,
and the National institute of Family and Life Advocates (NIFLA}.

« If an anti-abortion center webpage includes one of the following logos, it’s a clear
sign that the facility does not provide full options counseling:

https://reproequitynow.org/about-antiabortion-centers#:~:text=List%200f%20Anti%2DAbortion%20C enters%20in% 20New% 20England%3A Page 2 of 5
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About Anti-Abortion Centers — Reproductive Equily Now K x HIBI' 1 P 8/19/24, 12:53 PM

Common Anti-Abortion Tactics to Recognize:

e Anti-abortion centers often use fear-based language, such as “Pregnant and need
help?’ or “Pregnant, scared, and in need of help?” to attract patients who might
be dealing with an unplanned pregnancy.

© These centers often falsely link abortion to infertility, breast cancer, depression,
and mental health problems. There is no scientific basis in these anti-abortion
claims.

« Many anti-abortion centers have names with the words “choice,” or “choices?
“hope, or “options”

e These facilities often advertise a fake service called “abortion reversal, which is
not supported by science and poses serious threats to patients’ health.

« Anti-abortion centers often offer abstinence-only sex education, post-abortion
support, spiritual support, or bible study. While some people need and want post-
abortion counseling, and may seek it through their faith leaders, there is no
scientific evidence that abortion results in adverse mental health outcomes.

How to Recognize an Anti-Abortion Center in Person:

e Check your clinic's name carefully, Anti-abortion centers sometimes set up next
to real health care clinics and medical providers in order to confuse and deceive
patients. Make sure you're headed to the correct facility!

« Make sure you sign a HIPAA form. Legitimate health care clinics will have you fill
out a HIPAA form, which is a medical form that protects your private patient
information. Anti-abortion centers do not require this form and, as such, have no
legal obligation to protect your personal, private medical information.

e Look at the posters on the wall. Anti-abortion centers often make abortion seem
scary or unsafe or have a message of "choose life” instead of offering unbiased
all-options counseling.

« Get your questions answered. A real reproductive health care clinic will answer
your questions before you make an appointment. Anti-abortion centers often
insist you make an appointment before confirming whether they offer abortion,
STD testing, or contraceptives.

© Trust your gut. Anti-abortion centers may lie to you about how far along you are

https:/freproequitynow.org/about-antiabortion-centers#:~:textsList™% 200f%20Anti%2DAbortion%2 0C enters%20in%20New% 20England% 3A Page 3 of 5
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About Anti-Abortion Centers — Reproductive Equity Now EB xX HIBI' J 1 P 8/19/24, 12:53 PM

in your pregnancy to make you think you have more time than you do to make a
decision or to make you think that the time to make a decision has already
passed, Get a second opinion if what they say doesn’t sound right or make sense
to you.

*® Geta physical copy of your results. If the “clinic” refuses to give you a physical
copy of your pregnancy test results or appears to unreasonably delay giving you
the results (i.e. they say they will call you or mail them to you), you may be at an
anti-abortion center. Testing for pregnancy can be done in a clinic, and you
should get results within minutes.

¢ Listen for janguage. If the attendant only uses terms like “baby” and “child” and
doesn't respect the language you are using, including talking about the
gestational age of the fetus or embryo, you may be in an anti-abortion center.

» Make sure you have a choice. If a pregnancy test comes back positive and the
attendant speaks to you as if you have already made up your mind to carry the
pregnancy to term, you may be in an anti-abortion center.

e Watch out for offers. Anti-abortion centers may offer you baby clothes, food,
accessories, or financial support if you don't have an abortion, Providing people
with postnatal support for wanted pregnancies is important but such support
should not be used to coerce you into a reproductive health care choice you are
not comfortable with.

If you have been harmed by deceptive practices, harassment, or medical malpractice
at an anti-abortion center:

These resources are available to you and we encourage you to use them.

« People whe have had a negative experience with anti-abortion centers can call
Reproductive Equity Now's free and confidential Abortion Legal Hotline at 833-
309-6301 to report their case and be referred to pro bono attorneys.

« Patients in Massachusetts can also file a report with the Attorney General
Office's Civil Rights Division online or at 617-963-2917.

e If you have concerns about the qualifications or safety of care delivered by a
nurse or physician in Massachusetts, you can file a formal complaint with the
Commonwealth to initiate an investigation.

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